Case 3:21-cv-12753-FLW-LHG Document 1-1 Filed 06/18/21 Page 1 of 16 PagelD: 6

Exhibit A

 

 
Case 3:21-cv-12753-FLW-LHG Document 1-1 Filed 06/18/21 Page 2 of 16 PagelD: 7

SUMMONS

Attorney(s) WILEN1Z, GOLDMAN & SPITZER, P.A.

Superior Court of
Office Address 99 WOODBRIDGE CENTER DRIVE

 

 

Town, State, Zip Code SUITE 900 BOX 10. New Jersey
, , WOODBRIDGE; NI 07095 3
Somerset [et “ounty
Telephone Number 732-855-6038 Law Division
Attomey(s) for Plaintiff Docket No: SOM-L-676-21

 

KIM VAN NOTE and EUGENE

VAN NOTE, her husband,
Plaintiff(s)

 

 

CIVIL ACTION
VS. SUMMONS

HARVIA US INC, et al.

 

 

Defendant(s)
From The State of New Jersey To The Defendant(s) Named Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attomey must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.nicourts. gov/forms/10153_ deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,

P.O. Box 971, Trenton, NJ 08625-0971. A Giling fee payable to the Treasurer, Stale of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also scnd a copy of your answer or motion to plaintiff's attorncy whose name and address appear above,
or to plaintiff, ifno attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense. .

1f you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit, If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.nicourts.gov/forms/10153_deptyclerklawref.pdf.

/S/ MICHELLE M. SMITH

 

Clerk of the Superior Court

DATED: 05/26/2021
Name of Defendant to Be Served: COSTCO WHOLESALE CORPORATION - CT Corporation System

 

Address of Defendant to Be Served: 820 Bear Tavern Road, West Trenton, NJ 08628

Revised 11/17/2014, CN 10792-English (Appendix XTI-A)

 
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SOM L 000676-21 05/13/2021 4:18:50 AM Pg 1 of 1 Trans ID: LCV20211195936

SOMERSET COUNTY SUPERIOR COURT
40 NORTH BRIDGE STREET
1ST FLR PO BOX 3000
SOMERVILLE NJ 08876-1262
TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (908) 332-7700
COURT HOURS 8:30 AM - 4:30 PM

DATE: MAY 12, 2021
RE; VAN NOTE KIM VS HARVIA US INC.
DOCKET: SOM L -000676 21

THE ABOVE CASE HAS BEEN ASSIGNED TO: TRACK 3.
DISCOVERY IS 450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

THE PRETRIAL JUDGE ASSIGNED IS: HON KEVIN M. SHANAHAN

IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 001
AT: (908) 332-7700.

IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A~-2.
ATTENTION:

ATT: ALEX LYUBARSKY

WILENTZ GOLDMAN & SPITZER

90 WOODBRIDGE CENTER DR STE 900

PO BOX 10 .

WOODBRIDGE NJ 07095-0958

ECOURTS

 
Case 3:21-cv-12753-FLW-LHG Document 1-1 Filed 06/18/21 Page 4 of 16 PagelD: 9

WILENTZ, GOLDMAN & SPITZER, P.A.

Alex Lyubarsky, Esq. (NJ 022412001 — 11/2001)
Attorneys at Law

90 Woodbridge Center Drive

Post Office Box 10

Woodbridge, New Jersey 07095

(732) 636-8000

Attorneys for Plaintiffs

 

X

KIM VAN NOTE and EUGENE VAN
NOTE, her husband,

Plaintiff,
V.

HARVIA US INC., ALMOST HEAVEN
SAUNAS LLC, AHS LLC, COSTCO
WHOLESALE CORPORATION,
JOHN DOES 1-20 (fictitious names),
ABC CORP. 1-20 (fictitious names),

Defendants.

 

x

Complaint against the Defendants, say: |

. #12297527.4

 

 

SOM-L-000676-21 05/12/2021 2:56:51 PM Pg 1 of 10 Trans ID: LCV20211190046 ~

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION — SOMERSET COUNTY
DOCKET NO. som-L-676-21

Civil Action 1

COMPLAINT, JURY
DEMAND, DESIGNATION
OF TRIAL COUNSEL AND
CERTIFICATION, DEMAND
FOR FORM C AND FORM |
C(4) INTERROGATORIES,
PLAINTIFF'S FIRST
NOTICE TO PRODUCE, and
DEMAND FOR DISCOVERY
OF INSURANCE
INFORMATION

Plaintiffs, KIM VAN NOTE and EUGENE VAN NOTE, her husband, residing in

Neshanic Station / Branchburg, Somerset County, State of New Jersey, by way of

meeerep rent

 

 

 
 

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FIRST COUNT
1. At all times relevant herein, Defendant, HARVIA US, INC. was a
corporation and/or other business entity organized under the laws of the State of

Delaware and authorized to transact and conduct business in the State of New Jersey.

2. Atal times relevant herein, Defendant, ALMOST HEAVEN SAUNAS, LLC
and/or AHS, LLC was a corporation and/or other business entity organized under the
laws of the State of Michigan and authorized to transact and conduct business in the

State of New Jersey.

3. At all times relevant herein, Defendant, COSTCO WHOLESALE
CORPORATION was a corporation and/or other business entity organized under the
laws of the State of Washington and authorized to transact and conduct business in the

State of New Jersey.

4. At all times relevant herein, Defendants, HARVIA US, INC., ALMOST
HEAVEN SAUNAS, LLC, AHS, LLC, COSTCO WHOLESALE CORPORATION, and/or
JOHN DOES 1-5 (fictitious names representing as yet unidentified individuals), and/or
ABC CORP. 1-5 (fictitious names representing as yet unidentified business entities),
designed, manufactured, formulated, constructed, produced, created, assembled,
packaged, labeled, installed, modified, maintained, repaired, distributed, sold, marketed,
andlor otherwise placed in the stream / line of commerce a certain product identified or
described herein as an Almost Heaven Barrel Sauna, which included a wall model

heater and/or component parts thereto (hereinafter collectively “the subject Product”),

#12297527.1

 

ye rer pr:

 

 

 
—_____—-Case-3:21-ev-42753-FLW+LHG-— Document 1-1 Filed 06/18/21 Page 6 of 16 PagelD: 11

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which was purchased for private use by the Plaintiffs on or about April 10, 2015 from

Defendant COSTCO WHOLESALE CORPORATION.

5. On or about September 8, 2019, Plaintiff, KIM VAN NOTE, was using,
and/or operating, andior exposed to, and/or otherwise came in contact with the subject
Product in a reasonably foreseeable manner (i.e., Plaintiff was inside the Barrel Sauna
and had just turned on the wall model heater), when the subject Product (more |
specifically, the wall model heater and/or component parts thereto) malfunctioned and

caused a very loud acoustic explosion.

6. The subject Product (including one or more of its component parts), as
designed, manufactured, formulated, constructed, produced, created, assembled,
packaged, labeled, installed, modified, maintained, repaired, distributed, sold, marketed,|
and/or otherwise placed in the stream / line of commerce by the Defendants, HARVIA.
US, INC., ALMOST HEAVEN SAUNAS, LLC, AHS, LLC, COSTCO WHOLESALE
CORPORATION and/or JOHN DOES 1-5 (fictitious names representing as yet
unidentified individuals), and/or ABC CORP. 1-5 (fictitious names representing as yet
unidentified business entities), was defective and/or unreasonably dangerous in the

condition in which it was placed into the stream / line of commerce.

7. As a direct and proximate result of the defective and dangerous condition
of the subject Product, which caused the acoustic explosion / trauma, Plaintiff, KIM VAN
NOTE, while using the subject Product ina reasonably foreseeable manner, sustained
serious and permanent injuries, including progressive and chronic bilateral tinnitus with

the perception of decreased hearing acuity.

#12297527.1

 

 

 

 

 

 

 
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8. As a direct and proximate result of the defective and dangerous condition
of the subject Product, Plaintiff, KIM VAN NOTE, suffered serious and permanent
injuries amounting to a permanent disability with poor prognosis for recovery, was
caused to endure pain and suffering that is likely to continue for the remainder of her
life, was forced to incur significant medical expenses attributable to the above-described
injuries, and was and in the future will be prevented from attending to her normal

business.

9. Defendants, HARVIA US, INC., ALMOST HEAVEN SAUNAS, LLC, AHS,
LLC, COSTCO WHOLESALE CORPORATION and/or JOHN DOES 1-5 (fictitious
names representing as yet unidentified individuals), and/or ABC CORP. 1-5 (fictitious
names representing as yet unidentified business entities), are liable to Plaintiff under the

Doctrine of Strict Liability and/or the New Jersey Product Liability Act.

WHEREFORE, Plaintiff, KIM VAN NOTE, demands judgment against
Defendants, HARVIA US, INC., ALMOST HEAVEN SAUNAS, Le, AHS, LLC,
COSTCO WHOLESALE CORPORATION and/or JOHN DOES 1-5 (fictitious names |
representing as yet unidentified individuals), and/or ABC CORP. 1-5 (fictitious names
representing as yet unidentified business entities), either jointly, severally or in the
alternative, awarding damages, interest, costs, and counsel fees associated with the

suit on this Count.

‘SECOND COUNT
1. Plaintiff hereby repeats and re-alleges the allegations contained in the

First Count of the Complaint as if set forth herein in their entirety.

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2. Defendants, HARVIA US, INC., ALMOST HEAVEN SAUNAS, LLC, AHS,
LLC, COSTCO WHOLESALE CORPORATION and/or JOHN DOES 1-5 (fictitious
names representing as yet unidentified individuals), and/or ABC CORP. 1-5 (fictitious
names representing as yet unidentified business entities), are liable to Plaintiff under the

Doctrines of Negligence, Breach of Warranty, and/or other Common Law Tort doctrines.

WHEREFORE, Plaintiff, KIM VAN NOTE, demands judgment against
Defendants, HARVIA US, INC., ALMOST HEAVEN SAUNAS, LLC, AHS, LLC,
COSTCO WHOLESALE CORPORATION and/or JOHN DOES 1-5 (fictitious names
representing as yet unidentified individuals), and/or ABC CORP. 1-5 (fictitious names
representing as yet unidentified business entities), either jointly, severally or in the
alternative, awarding damages, interest, costs, and counsel fees associated with the

suit on this Count.

THIRD COUNT

1. Plaintiffs repeat each and every allegation of the First and Second Counts
of this Complaint and incorporate them herein by reference as if fully set forth at length.

2. Plaintiff, EUGENE VAN NOTE is the husband of Plaintiff, KIM VAN NOTE.

3. As a result of the aforementioned injuries suffered by Plaintiff, KIM VAN
NOTE, Plaintiff, EUGENE VAN NOTE, has and will in the future suffer the loss of the

| usual services and consortium of his wife, and has been required to provide special

services to KIM VAN NOTE.

WHEREFORE, Plaintiff, EUGENE VAN NOTE, demands judgment against

Defendants, HARVIA US, INC., ALMOST HEAVEN SAUNAS, LLC, AHS, LLC,

#12297527.1

 

 

 

 
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COSTCO WHOLESALE CORPORATION, and/or JOHN DOES 1-5 (fictitious names
representing as yet unidentified individuals), and/or ABC CORP. 1-5 (fictitious names
representing-as yet unidentified business entities), either jointly, severally or in the
alternative for damages, interest, attorneys fees and costs of suit.
JURY DEMAND
_ Plaintiffs demand a trial by jury on all issues so triable.
DEMAND FOR FORM C AND C(4) INTERROGATORIES
Pursuant to New Jersey Court Rules, Plaintiffs hereby demand that each named
defendant serve timely and complete responses to Form C and Form C(4), in
compliance with the applicable Court Rules.
| DESIGNATION OF TRIAL COUNSEL *
Please take notice that pursuant to Rule 4:25-4, Plaintiffs hereby ;
designate ALEX LYUBARSKY, Esq. as trial counsel in the within matter.
WILENTZ, GOLDMAN & SPITZER
A Professional Corporation

Attorneys for Plaintiffs

By__/S/ Alex Lyubarsky
ALEX LYUBARSKY

Dated: May 11, 2021

#12297527.1

 

 

 

 

 
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CERTIFICATION

ALEX LYUBARSKY, ESQ., of full age, hereby certifies as follows:

|. | am an attorney at law of the State of New Jersey and a member of the
firm of Wilentz, Goldman & Spitzer, P.A., attorneys for and on behalf of the plaintiffs in
the within matter.

2. The matter involved here, as far as | know, is not presently the subject
of any action pending in this or any other court, nor is it the subject of any pending
arbitration proceeding or Workers Compensation petition.

3. | know of no party who should be joined in this action who has not
already been joined. ‘

| certify that the foregoing statements made by me are true. | am aware

that if any of the foregoing statements made by me are willfully false, | am subject to

punishment.

Dated: May 11, 2021 /S/ Alex Lyubarsky
ALEX LYUBARSKY

#12297527.1

 

 

 

 

 
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PLAINTIFFS’ FIRST NOTICE TO PRODUCE

1. Identify and attach copies of any and all documents that you intend
to offer as evidence at the trial of the above-captioned matter, including (but not limited
to) any and all demonstrative evidence,

2. tdentify and attach copies of any and all curriculum vitae of any and
all proposed experts who will testify at trial on your behalf.

3. Identify and attach copies of any and all reports of any and all
proposed experts who will testify at trial on your behalf.

4. Identify and attach copies of all statements in your possession of
individuals with knowledge of the accident or occurrence.

5, Identify and attach copies of any and all statements from any and
all individuals who witnessed the incident / accident at issue in this case.

6. Identify and attach copies of all statements of parties with
knowledge in the possession of the Defendants. If said statements are on any type of
non-written media, such as tape or computer disk, attach a transcription of same.

7. . Identify and attach copies Attach copies of all documents pertaining
to the design, manufacture, formulation, construction, production, creation, assembly,
packaging, labeling, installation, modification, maintenance, repair, distribution, sale
and/or marketing of the subject Product identified in Plaintiffs’ Complaint and throughout
the course of discovery.

8. Identify and attach copies Attach copies of all documents .
Defendants intend to introduce or use in any way at the time of trial.

#12297527.1

 

 

 

 
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9. Identify and attach copies Attach copies of all documents
Defendants intend to use in any way to question (on direct or cross examination) any
witness during the course of discovery or at the time of trial.

10. Identify and attach copies of any and all photographs (in color, if
available) and/or other visual recording(s) pertaining to the subject Product identified in
Plaintiffs’ Complaint and throughout the course of discovery and otherwise relevant to
the subject matter of this action.

11. Identify and attach copies Attach copies of all any and all
photographs (in color, if available) and/or other visual recording(s) Defendants intend to
use in any way to question (on direct or cross examination) any witness during the
course of discovery or at the time of trial.

12. Identify and attach copies of any and all photographs (in color, if
available) and/or other visual recording(s ), if any, of Plaintiff and/or Plaintiff's medical
condition. ;

13. Identify and attach copies of any and all photographs (in color, if

available) and/or other visual recording(s), if any, of Plaintiff and/or Plaintiffs medical
condition, created or generated by, on behalf of, and/or at the request of Defendant(s),
at any time on or after the date of the subject accident.

14. Identify and attach copies of any and all medical records / reports in
the possession of the Defendant(s) regarding Plaintiff and/or Plaintiff's medical
condition(s). This request is all encompassing, including medical bills, medical reports,
and/or any reports of examining physicians retained by the Defendant(s).

Please note that this First Notice to Produce is continuous in nature, and you are
required to comply with same any time you come in possession of documents

responsive to this demand.

#12297527.1

 

 

 

 
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EMAND FOR DISCOVERY OF INSURANCE INFORMATION

%

Pursuant to R. 4:10-2(b) demand is hereby made that you disclose to the
undersigned whether there are any insurance agreements or policies under which any
person or firm carrying an insurance business may be liable to satisfy part or all of a
judgment which may be entered in this action or to indemnify or reimburse for payments
made to satisfy the judgment.

YES ( ) NO ( )

If the answer is "yes" attach a copy of each or in the alternative state,
under oath or certification (a) number (b) name and address of insurer or issuer (c)
inception and expiration dates (d) names and addresses of all persons insured
thereunder (e) personal injury limits (f) property damage limits (g) medical payment
limits (h) name and address of person who has custody and possession thereof (i)
where and when each policy or agreement can be inspected and copied,

WILENTZ,-GOLDMAN & SPITZER, P.A.
Attorneys for Plaintiff(s)
BY: _/S/ Alex Lyubarsky

ALEX LYUBARSKY, ESQ.

Dated: May 11, 2021

~10-

#12297527.1

 

 

 

 
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Civil Case Information Statement

 

Case Caption: VAN NOTE KIM VS HARVIA US INC, Case Type: PRODUCT LIABILITY

Case Initiation Date: 05/12/2021 / Document Type: Complaint with Jury Demand

Attorney Name: ALEX LYUBARSKY . Jury Demand: YES - 6 JURORS

Firm Name: WILENTZ GOLDMAN & SPITZER Is this a professional malpractice case? NO

Address: 90 WOODBRIDGE CENTER DR STE 800 PO Related cases pending: NO

BOX 10 if yes, list docket numbers:

WOODBRIDGE NJ 070950958 Do you anticipate adding any parties (arising out of same
Phone: 7326368000 , transaction or occurrence)? NO ,

Name of Party: PLAINTIFF : VAN NOTE, KIM

Name of Defendant's Primary Insurance Company Are sexual abuse claims alleged by: KIM VAN NOTE? NO

(if known): Unknown

Are sexual abuse claims alleged by: EUGENE VAN NOTE? NO

   

 

‘CAGE CHARACIERIST ics FOR PURPOSES OF DETERMINING IF. CASE is ‘APPROPRIATE FOR MEDIATION -

Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommeadation:

Will an interpreter be needed? NO
if yes, for what language:

Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO

 

 

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

05/12/2024 , . /si ALEX LYUBARSKY
Dated . ; Signed
 

Case 3:21-cv-12753-FLW-LHG Document 1-4 —Filed-O6 418/21 aa eatialalerle alee lalla ih ema

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——_—_—Gase 3:2tev 12763 FLW LHG—Document 1-1 Filed 06/18/21 Page 16 of 16 PagelD: 21

NJ SUPERIOR COURT LAWYER REFERRAL AND LEGAL SERVICE LIST

ATLANTIC COUNTY:
Deputy Clerk, Superior Court
Civil Division, Direct Filing
1201 Bacharach Bivd., ist FI.
Atlantic City, NJ 08401
LAWYER REFERRAL

(609) 345-3444

LEGAL SERVICES

(609) 348-4200

BERGEN COUNTY:

Deputy Clerk, Superior Court
Civil Division, Room 115
Justice Center, 10 Main St.
Hackensack, NJ 07601
LAWYER REFERRAL
(201)488-0044

LEGAL SERVICES

(201) 487-2166

BURLINGTON COUNTY:
- Deputy Clerk, Superior Court
Central Processing Office
Attn: Judicial intake
First Fi., Courts Facility
49 Rancocas Road
_Mt. Holly, NJ 08060
LAWYER REFERRAL
(609) 261-4862
LEGAL SERVICES
(609) 261-1088

CAMDEN COUNTY:
Deputy Cterk, Superior Court
Civil Processing Office
Hall of Justice

1 Fl, Suite 150

101 South 5th Street
Camden, NJ 08103
LAWYER REFERRAL
(856) 482-0618
LEGAL SERVICES
(856) 964-2010

CAPE MAY COUNTY:
Deputy Clerk, Superior Court
9N. Main Street

Cape May Caurt House, NJ
08210

LAWYER REFERRAL

(609) 463-0313

LEGAL SERVICES

(609) 465-3001

CUMBERLAND COUNTY:
Deputy Clerk, Superior Court
Civil Case Management Office
60 West Broad Street

P. O, Box 10

Bridgeton, NJ 08302
LAWYER REFERRAL

(856) 696-5550

LEGAL SERVICES

(856) 691-0494

 

ESSEX COUNTY:

Deputy Clerk, Superior Court
Civil Customer Service

Hail of Records, Room 201
465 Dr. Martin Luther King Jr.
Bivd.

Newark, NJ 07102

LAWYER REFERRAL

(973) 622-6204

LEGAL SERVICES

(973) 624-4500

GLOUCESTER COUNTY:
Deputy Clerk, Superior Court
Civil Case Management Office,
Attn: Intake, First Fl., Court
House

1 North Broad Street
Woodbury, NJ 08096
LAWYER REFERRAL

(856) 848-4589

LEGAL SERVICES

(856) 848-5360

HUDSON COUNTY:
Deputy Clerk, Superior Court
Civil Records Dept.

* Brennan Court House, 1st Floor

583 Newark Avenue
Jersey City, NJ 07306
LAWYER REFERRAL
(201) 798-2727
LEGAL SERVICES
(201) 792-6363

HUNTERDON COUNTY:
Deputy Clerk, Superior Court
Civil Division

65 Park Avenue

Flemington, NJ 08822
LAWYER REFERRAL

(908) 236-6109

LEGAL SERVICES

(908) 782-7979

MERCER COUNTY:

Deputy Clerk, Superior Court
Local Filing Office, Courthouse
175 S. Broad Street

P.O. Box 8068

Trenton, NJ 08650

LAWYER REFERRAL

(609) 585-6200.

LEGAL SERVICES

(609) 695-6249

MIDDLESEX COUNTY:
Deputy Clerk, Superior Court
Middlesex Vicinage

Second Floor, Tower

56 Paterson Street

P.O. Box 2633

New Brunswick, NJ 08903-2633
LAWYER REFERRAL

(732) 828-0053

LEGAL SERVICES

(732) 249-7600

MONMOUTH COUNTY: SUSSEX COUNTY:

Deputy Clerk, Superior Court Deputy Clerk, Superior

Court House Court

P. O. Box 1269 Sussex County Judicial

Freehold, NJ 07728-1269 Center

LAWYER REFERRAL 43-47 High Street

(732) 431-6544 Newton, NJ 07860

LEGAL SERVICES LAWYER REFERRAL

(732) 866-0020 (973) 267-5882
LEGAL SERVICES
(973) 383-7400

MORRIS COUNTY: UNION COUNTY:

Morris County Courthouse Deputy Clerk, Superior

Civil Division Court

Washington & Court Streets tst Floor, Court House

P. O. Box 910 2 Broad Street

Morristown, NJ 07963-0910 Elizabeth, NJ 07207-

LAWYER REFERRAL 6073

(973) 267-5882 LAWYER REFERRAL

LEGAL SERVICES (908) 353-4715

(973) 285-6911 LEGAL SERVICES
(908) 354-4340

OCEAN COUNTY:
Deputy Clerk, Superior Court

WARREN COUNTY:
Deputy Clerk, Superior

Court House, Room 1214 Court
118 Washington Street Civil Division, Court
P.O, Box 2191 House
Toms River, NJ 08754-2191 413 Second Street ‘
LAWYER REFERRAL Belvidere, NJ 07823-
(732) 240-3666 1500
LEGAL SERVICES LAWYER REFERRAL
(732) 341-2727 (908) 859-4300

LEGAL SERVICES

(908) 475-2010

PASSAIC COUNTY:

Deputy Clerk, Superior Court
Civil Division - Court House
77 Hamilton Street

Paterson, NJ 07505
LAWYER REFERRAL

(973) 278-9223

LEGAL SERVICES

(973) 523-2900

SALEM COUNTY:

Deputy Clerk, Superior Court
Attn: Civil Case Management
Office

92 Market Street

Salem, NJ 08078

LAWYER REFERRAL

(856) 935-5629

LEGAL SERVICES

(856) 691-0494

SOMERSET COUNTY:
Deputy Clerk, Superior Court
Civil Division Office

40 North Bridge Street

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